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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


DAMIAN M. BATEAST,

               Plaintiff,

               v.                                     Case No. 22-3093-DDC-ADM

OLUWATOSIN S. ORUNSOLU, et al.,

               Defendants.


                                             ORDER

       Plaintiff Damian M. Bateast’s (“Bateast”), a state prisoner appearing pro se and in forma

pauperis, filed this civil rights complaint pursuant to 42 U.S.C. § 1983. This matter is before the

court on Bateast’s motion seeking a court order for defendants to provide him with a copy of sealed

Exhibit K to the Martinez report. This motion is denied for two reasons.

       First, it is denied as untimely. The court granted the Kansas Department of Corrections’

(“KDOC”) motion to file Exhibit K to the Martinez Report under seal on March 15, 2023. (ECF

28.) Bateast did not file a motion to reconsider that order, and the time to do so has long passed.

See D. KAN. RULE 7.3 (party must file a motion for reconsideration “within 14 days after the order

is served unless the court extends the time”).

       Second, Bateast’s motion is denied as moot. Courts order a Martinez report in order to

ascertain whether there are factual and legal bases for the prisoner’s claims. Gee v. Estes, 829

F.2d 1005, 1007 (10th Cir. 1987). The purpose of a Martinez report is not to provide discovery.

Rather, the court requested the Martinez report, and defendants provided it and its exhibits

(including Exhibit K) in order to provide the court with a full disclosure of the facts to assist the

court in screening the complaint. Rachel v. Troutt, 820 F.3d 390, 396 (10th Cir. 2016) (“Courts
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order the Martinez report not to provide discovery, but to aid in screening the complaint.”). The

screening process is now complete. (ECF 35.) Bateast’s complaint survived screening, so any

issues concerning Exhibit K are now moot.

       IT IS THEREFORE ORDERED that Bateast’s Motion for Order requiring Defendants

to provide him with a copy of Sealed Exhibit K to Martinez Report (ECF 40) is denied.

       IT IS SO ORDERED.

       Dated July 19, 2023, in Kansas City, Kansas.

                                            s/ Angel D. Mitchell
                                            Angel D. Mitchell
                                            U.S. Magistrate Judge




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